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                                    #1205



                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF ILLINOIS


UNITED STATES OF AMERICA,

      Plaintiff,

v.

JOHNNY JOHNSON, et al.,

      Defendants.                                    Case No. 04-cr-30029-DRH

                                    ORDER

HERNDON, Chief Judge:

            Now before the court is defendant Johnny Johnson’s most recent

Motion to Continue Sentencing (Doc. 360).     As with prior continuances of his

sentencing hearing, because of defendant Johnson’s agreement to cooperate with the

government in the prosecution of Quawntay Adams, who now has a jury trial date set

for July 14, 2008, defendant Johnson wishes to continue sentencing until at least

thirty (30) days thereafter. Therefore, the Court GRANTS Johnson’s Motion to

Continue (Doc. 360), Accordingly, the Court CONTINUES the sentencing hearing for

defendant Johnny Johnson scheduled for March 28, 2008 to September 5, 2008

at 9:30 a.m.

            IT IS SO ORDERED.

            Signed this 7th day of March, 2008.

                                     /s/     DavidRHerndon
                                     Chief Judge
                                     United States District Court
